Case 2:15-cv-03584-CAS-JEM Document 1-1 Filed 05/13/15 Page 1 of 2 Page ID #:7




                       EXHIBIT 1
          Case 2:15-cv-03584-CAS-JEM Document 1-1 Filed 05/13/15 Page 2 of 2 Page ID #:8




                                                                                                                        TMM / ALL
                                                                                                     Transmittal Number: 13678615
Notice of Service of Process                                                                            Date Processed: 04/14/2015

Primary Contact:           Carmen Berumen
                           Select Portfolio Servicing, Inc.
                           3815 S. West Temple
                           Salt Lake City, UT 84115

Copy of transmittal only provided to:          Jason Miller
                                               Gina Burgess
                                               Tammy Cunningham
                                               Service Process

Entity:                                       Select Portfolio Servicing, Inc.
                                              Entity ID Number 1752761
Entity Served:                                Selcet Portfolio Servicing, Inc.
Title of Action:                              Okechukwu Obioma Ukaegbe vs. Selcet Portfolio Servicing, Inc.
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Violation of State/Federal Act
Court/Agency:                                 Los Angeles County Superior Court, California
Case/Reference No:                            BC 578159
Jurisdiction Served:                          California
Date Served on CSC:                           04/13/2015
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Julie J. Villalobos
                                              562-356-9957

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